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| RECOVERY SERVICES

June 5, 2024

United States Bankruptcy Court

Middle District of Florida

_Sam M. Gibbons US Courthouse
801 North Florida Ave, Ste 555 |
Tampa, CL 33602

a. 2 ~ ns ae,

RE: - Notice of Appearance
_ Debtor: Pedro Antonio Marrero
Case No.: 8:23-bk-03868-CPM
Our Client: | Hudson Insurance Company
Our File: 24429 .

Dear Clerk of the Court: sci

Please take notice that Jomax Recovery Services, as authorized agent for Hudson Insurance Company, a
creditor i in the above-referenced case, hereby requests that all notices given or required to be given, and
all papers served or required to be served in this: bankruptcy proceeding ‘including, without limitation, all
notices pursuant to Federal Rules of Bankruptcy Procedure, be given and served upon:

Hudson Insurance Company

~ c/o Jomax Recovery Services
9242 W. Union Hills Drive #102
Peoria, AZ 85382

A copy of this notice is attached, to be date stamped and returned to our office i in 1 the pre- “stamped
~ envelope provided. Please let me 1e know if you have questions. -

Sincerely,

Machelle DeBruin
Legal Coordinator. es

. cc: ~ Hudson Insurance Company

~ JUN 10 20242 W Union Hills Dr., Suite 102, Peoria, AZ 85382
M . A x SN Beart offices: 888,866,0721 toll free + 602.866.0722 fax

nN,
JOMAX

9242 W UNION HILLS DR

SUITE 102

PEORIA, AZ 85382

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